                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA


LOUIS HOLGER,

                           Plaintiff,

                    v.                       Case No. 3:18-cv-00284-SLG

BETH PHILLIPS, et al.,

                          Defendants.


                                   ORDER OF DISMISSAL

        Louis Holger, a self-represented prisoner, filed a document entitled “Notice

and Claim for Equal Justice Under the Law,” on December 6, 2018. The Court will

treat this document as a complaint under Federal Rule of Civil Procedure 7(a). Mr.

Holger’s document weaves together excerpted sections of the U.S. Constitution

and the United States Code with declarations of Mr. Holger’s intended actions,

self-granted authority, and accusations of judicial impropriety. The allegations

appear to relate to his dissatisfaction with the outcome of his prior lawsuit in the

U.S. District Court for the Western District of Missouri, Southern Division. 1

        Mr. Holger filed a Civil Cover Sheet with his complaint. There, he indicates

he seeks to sue U.S. District Court Judge Beth Phillips, Clerk of Court Paige

Wynmore-Wynn, and the American British Accredited Registry Association, Inc.



1   See Docket 1.




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He identifies the cause of action as the “United States Constitution, Unanimous

Declaration of Independence, and the United Nations Universal Declaration of

Human Rights.” 2 Additionally, Mr. Holger filed an Application to Proceed in District

Court without Prepayment Fees or Costs. 3

         Mr. Holger requests this Court issue the resignation and/or termination of

Judge Phillips and Paige Wynmore-Wynn, investigate Judge Phillips, Ms.

Wynmore-Winn, and the written record of the American British Accredited Registry

Association, take Judge Phillips into custody for public safety, and hold that Judge

Phillips and Ms. Wynmore-Wynn to be held liable for $500,001 in damages, each. 4

                               SCREENING REQUIREMENT

         Federal law requires a court to conduct an initial screening of a civil

complaint filed by a self-represented litigant seeking to proceeds in a lawsuit in

federal court without paying the filing fee. In this screening, a court shall dismiss

the case at any time if the court determines that the action:

                (i)     is frivolous or malicious;

                (ii)    fails to state a claim on which relief may be granted; or

                (iii)   seeks monetary relief against a defendant who is immune
                        from such relief. 5


2   Docket 2.
3   Docket 3.
4   Docket 1 at 6.
5   28 U.S.C. § 1915(e)(2)(B).

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To determine whether a complaint states a valid claim for relief, courts consider

whether the complaint contains sufficient factual matter that, if accepted as true,

“state[s] a claim to relief that is plausible on its face.” 6 In conducting its review, a

court must liberally construe a self-represented plaintiff’s pleading and give the

plaintiff the benefit of the doubt. 7 Before a court may dismiss any portion of a

complaint for failure to state a claim upon which relief may be granted, the court

must provide the plaintiff with a statement of the deficiencies in the complaint and

an opportunity to amend or otherwise address the problems, unless to do so would

be futile. 8

                                        DISCUSSION

       Mr. Holger’s complaint fails to state a claim upon which relief may be

granted. The complaint fails to allege plausible facts, law that provides a private

cause of action, or defendants with the capacity to be sued. For the reasons

explained below, the complaint will be dismissed for being deficient. In this case,

amendment would be futile; therefore, leave to amend will not be permitted.



6 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550
U.S. 544, 570 (2007)). In making this determination, a court may consider “materials
that are submitted with and attached to the Complaint.” United States v. Corinthian
Colleges, 655 F.3d 984, 999 (9th Cir. 2011) (citing Lee v. L.A., 250 F.3d 668, 688 (9th
Cir. 2001)).
7See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citing Bretz v. Kelman, 773 F.2d
1026, 1027 n.1 (9th Cir. 1985) (en banc)).
8See Gordon v. City of Oakland, 627 F.3d 1092, 1094 (9th Cir. 2010) (citing Albrecht v.
Lund, 845 F.2d 193, 195 (9th Cir. 1988)).

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                                  Failure to State a Claim

         A complaint seeking relief from a federal court must be clear. Rule 8 of the

Federal Rules of Civil Procedure instructs that a complaint must contain a “short

and plain statement of the claim showing that the [complainant] is entitled to relief.”

A complaint should set out each claim for relief separately. Each claim should

identify (1) the specific harm that Mr. Holger is alleging has occurred to him, (2)

when that harm occurred, (3) where that harm was caused, (4) who he is alleging

caused that specific harm to him, and (5) what specific law he is alleging was

violated as to that specific claim.

         Mr. Holger’s complaint intersperses excerpts of the U.S. Constitution,

federal code, and selective legal definitions with accusations of judicial and legal

wrongdoing. None of the provisions and principles of law cited in Mr. Holger’s

provide a private cause of action. As previously explained, federal criminal law

does not provide a private cause of action for private citizens. 9 Federal criminal

laws are only enforceable by federal law enforcement. Moreover, the complaint

makes broad allegations and does not include facts, dates, times, or details as to

the alleged harms specific to Mr. Holger. The complaint fails to state a claim upon

which relief may be granted. 10


9See, e.g., Holger v. United States of America, Inc., Case No. 3:18-cv-241-RRB; Holger
et al v. Burgess, et al., Case No. 3:18-cv-277-RRB; Holger v. Burgess et al., Case No.
3:18-cv-287-RRB.
10   Fed. R. Civ. P. 12(b)(6).

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                                      Judicial Immunity

         Judicial immunity is a long-standing principle of American law. 11 As a matter

of law, judges are absolutely immune from suit for “for judicial acts taken within the

jurisdiction of the courts . . . .” 12 “A judge loses absolute immunity only when [she]

acts in the clear absence of all jurisdiction or performs an act that is not judicial in

nature.” 13    Judges retain immunity even when accused of acting maliciously,

corruptly, or in error. 14 “Judges and those performing judge-like functions are

absolutely immune from damage liability for acts performed in their official

capacities.” 15

         Mr. Holger seeks to invalidate Judge Phillips’ decisions and alleges that she

is frequently presiding in the federal district court. Judge Phillips is a United States

District Judge, having been nominated by the President and confirmed by the

United States Senate. 16 Therefore, Judge Phillips is absolutely immune from suit

for actions taken within her official capacity.



11   Gregory v. Thompson, 500 F.2d 59, 62 (9th Cir. 1974).
12   Schucker v. Rockwood, 846 F.2d 1202, 1204 (9th Cir. 1988) (per curium).
13   Rockwood, 846 F.2d at 1204.
14Mireles v. Waco, 502 U.S. 9, 9 (1991) (per curium); Stump v. Sparkman, 435 U.S.
349, 357-60 (1978); Meek v. Cty. of Riverside, 183 F.3d962, 965 (9th Cir. 1999).
15Ashelman v. Pope, 793 F.2d 1072, 1075 (9th Cir. 1986) (en banc); see also Miller v.
Davis, 521 F. 3d 1142, 1145 (9th Cir. 2008).
16 S. Exec. Res. PN634, 112th Cong. (2011) (confirming the judicial nomination of Mary
Elizabeth Phillips).

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                                         Court Clerks

           "Court clerks have absolute quasi-judicial immunity from damages for civil

rights violations when they perform tasks that are an integral part of the judicial

process." 17 And the "commencement of an action by filing a complaint or petition

is a basic and integral part of the judicial process." 18 A mistake does not abrogate

this immunity even if it results in "grave procedural errors." 19 Mr. Holger accuses

Ms. Wynmore-Wynn of failing to properly issue documents with seals and deliver

his summons in other lawsuits. These tasks are an integral part of the judicial

process for a United States District Court. Therefore, Ms. Wynmore-Wynn is

immune from Mr. Holger’s suit.

                  American British Accredited Registry Association, Inc.

           Mr. Holger names the American British Accredited Registry Association, Inc.

as a defendant in his suit. Rule 17 of the Federal Rules of Civil Procedure explains

the types of entities that may be sued.

           The British Accredited Registry, or here named as the American British

Accredited Registry, is not a corporation or any type of organized entity. The

British Accredited Registry is a conspiracy theory alleging that there is a secret bar




17Mullis v. U.S. Bankruptcy Court for the Dist. of Nevada, 828 F.2d 1385, 1390 (9th Cir.
1987).
18   Id.
19   Stump v. Sparkman, 435 U.S. 349, 359 (1978).

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association of lawyers who work for the British monarchy. 20 This theory has been

traced to an anonymously authored essay, “Hiding Behind the Bar,” which

circulates in tax protestor and sovereign citizen groups. Fact checking services

have disproven the essay and have stated that “almost every part of this is factually

inaccurate.” 21     No entities of this name or organization exist.     Therefore, no

plausible defendant exists to sue.

           For the reasons discussed above, Mr. Holger has failed to name any viable

nonimmune defendants, and thusly, has failed to state a claim upon which relief

may be granted.

IT IS THEREFORE ORDERED:

1. Mr. Holger’s action is DISMISSED WITH PREJUDICE for failure to state a claim

      upon which relief may be granted, as required by 28 U.S.C. § 1915(e)(2)(B)(ii).

2. Mr. Holger’s Application to Proceed without Prepaying Fees or Costs at Docket

      3 is DENIED as moot.




20Dan MacGuill, Does the ‘bar’ in ‘Bar Exam’ Denote a Secret Lawyers’ Conspiracy?,
SNOPES (Jan. 23, 2018), https://www.snopes.com/fact-check/british-accredited-registry-
bar/
21   Id.

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3. This dismissal constitutes a “strike” under 28 U.S.C. § 1915(g). 22 Mr. Holger

     has three “strikes.” 23 However, for record keeping purposes this dismissal is

     also recorded as a strike. The Clerk of Court is directed to no longer accept

     Mr. Holger’s filings without pre-screening and approval from the Court or

     prepayment of the filing fee.

4. The Clerk of Court is directed to enter a final judgment accordingly.

        DATED this 22nd day of January, 2019 at Anchorage, Alaska.

                                                       /s/ Sharon L. Gleason
                                                       UNITED STATES DISTRICT JUDGE




22 28 U.S.C. § 1915(g) provides that a prisoner who files more than three actions or
appeals in any federal court in the United States which are dismissed as frivolous or
malicious or for failure to state a claim upon which relief may be granted, will be prohibited
from bringing any other actions without prepayment of fees unless the prisoner can
demonstrate that he or she is in ‘imminent danger of serious physical injury.”
23
 See Holger v. Burgess, et al., Case No. 3:18-cv-166-RRB; Holger v. United States of
America, Inc., Case No. 3:18-cv-241-RRB; Holger et al., v. Burgess et al., 3:18-cv-277-
RRB.




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